OPINION — AG — IS HOUSE BILL NO. 563 UNCONSTITUTIONAL ? (RECITES THAT AGRICULTURE AND AGRICULTURAL PRODUCTION IS ONE OF THE BASIC FOUNDATIONS OF THIS STATE. THE TERMS OF THIS BILL, THE RIGHT OF THE AGRICULTURAL USER TO TAKE AND USE THE NATURAL GAS IS ABSOLUTE FOR THE PURPOSE OF IRRIGATION AND NO REFERENCE IS MADE IN SAID BILL TO RIGHTS UNDER EXISTING CONTRACTS AND LEASES. BY TERMS OF SAID BILL, ITS PROVISIONS APPLY BOTH TO EXISTING PRODUCTION AND NATURAL GAS AND TO POSSIBLE FUTURE PRODUCTION) — UNCONSTITUTIONAL (ABUSE OF POLICE POWERS) CITE: 52 O.S.H. 23, 52 O.S.H. 231, 52 O.S.H. 233, ARTICLE II, SECTION 23, ARTICLE II, SECTION 24 (JAMES P. GARRETT)